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                                U NITED STATES D ISTRICT C OURT
                                        SOUTHERN DISTRICT OF FLOW D A
                                               M IAM IDIW SION

 U NITED STA TES O F A M ERICA                                        JUD G M EN T IN A CR IM IN A L C ASE


                                                                      CaseNumber:1:18-CR-20613-JEM (1)
 SAM UEL BAPTISTE                                                     USM Number;09681-104

                                                                      CounselforDefendant:Sim on Dray,CharlesSwift
                                                                      CounselforUnited States:M ichaelThakur

THE DEFENDANT:
 I
 XI pleadedguiltytocountts)sixoftheindictment
 E1 pleadedguiltytocountts)beforeaU.S.Magistrate
      Jud e,which wasacce tedb thtcourt.
 E1 pleadednolocontenderetocountts)whichwas
      acce ted b thecoul'
                        t
 IZ wasfoundguiltyoncountts)afterapleaofnotguilty

Thedefendantisadjudicatedguiltyoftheseoffenses:
 Title& Section/N atureofO ffense                                                       O ffense Ended        C ount
 18:
   2339B(A)(1)AttemptingToProvide MaterialSupportToTerrorists                           l1/06/2016            6




Thedefendantissentencedasprovidedinpages2through7ofthisjudgment.ThesentenceisimposedpursuanttotheSentencing
Refonn Actof1984.

      Thedefendanthasbeenfoundnotguiltyoncountts)
      counqs)1,2,3,4,5Z is I  ZI aredismissedonthemotionoftheUnitedStates
        ltisorderedthatthedefendantmustnotifytheUnited Statesattorney forthisdistrictwithin30 daysofany changeofname,
residence,ormailingaddressuntilal1fines,restimtion,costs,andspecialassessmentsimposedbythisjudgmentarefullypaid.lf
ordered topay restitm ion,thedefendantmustnotify thecourtandUnited Statesattorney ofmaterialchangesin econom ic
cizcum stances.

                                                           Januarv 19.2022
                                                           DateoflmpositionofJudgment


                                                                             .   r

                                                           signaturcofJudg                      ?
                                                           JO SE E.M  TW EZ
                                                           UNITED STA TES DISTRICT JIJDGE
                                                           NameandTitlcofJudge

                                                                                             M '
                                                           Date
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bEFENDANT:             SAM UEL BAPTISTE
CASB M JM BER:         1:18-CR-20613-JEM (1)
                                              IM PR ISO N M E N T

Thedefendantishereby committed tothecustody oftheUnitedStatesBureau ofPrîsonstobeimprisonedforatotalterm of:

180m onthsasto count6 oftheindictm ent.

 I
 Z    ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
Thedefendantshallbeassignedto afacility ascloseto SouthFloridaaspossiblecommensuratewith hisbackground andtheoffense
ofwhichhestandsconvicted.



 Rl ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
 I
 Z ThedefendantshallsurrendertotheUnitedStatesM arshalforthisdistrict:

         I
         Z    at                            I
                                            ZI a.m.        L     p.m.   on

         EZI asnotitiedbytheUnitedStatesMarshal.

 I
 Z ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureauofPrisons:

         Z before2p.m.on
         (
         Z1 asnotifiedbytheUnitedStatesMarshal.
         Eq1 asnotifiedbytheProbationorPretrialServicesOffice.

                                                    M TG G
Ihaveexecutedthisjudgmentasfollows:

       Defendantdelivered on                             to

                                  '

at                                ,withacertitudcopyofthisjudgment.



                                                                             UNITED STATESM ARSHAL

                                                                                      By
                                                                         DEPUTY UNITED STATESMARSHAL
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DEFEN DANT:            SAM UEL BAPTISTE
CA SE N UM BER:        1:l8-CR-206l3-.
                                     1EM (1)

                                         SU PER NISED R E LEA SE
Upopreleasefrom imprisonment,thedefendantskallbeonsupervisedreleaseforaterfnof:three(3)yearsastoCount6ofthe
indictm ent.


                                     M A N D A TO R Y C O N D ITIO N S
    Youmustnotcomm itanotherfederal,stateorlocalcrime.
    Youmustnotunlawfullypossessacontrolled substance.
 3. Youmustrefrain from anyunlawfuluseofacontrolled substance.Youmustsubmittoonedrug testwithin 15 daysofrelease
    from imprisonmentandatleasttwoperiodicdrugteststhereafter,asdetermined bythecourt.
      ((() Theabovedl   'ugtestingconditionissuspended,basedonthecourt'sdeterminationthatyouposea1ow riskoffutlzre
           substgnceabuse.(checkfapplicable)
 4. (
    1 Youmustmykerestitutiopinaccordancewith18U.S.C,jj3663and3663A oranyotherstatuteauthorizingasentence
      ofrestitution.(checkfapplicable)
    I
    J YoumustcooperateintheçollectionofDNA asdirectedbytheprobationofficer.(checkfappli
                   .                                               ,                        /cabl
                                                                                                e)
     L YoumustcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(h4U.S.C.j20901,et
          seq.)asdirectedbytheprobationofficer,tlieBureauofPrisons,oranystatesexoffenderregistrationagencyinwhich
          youreside,work,areastqdent,orwereconvictedofaqualifyingoffense.(checkfapplicable)
          Youmustparticipateinanapprovedprogram fordomesticviolence.(checkfapplicable)
          You mustcomply withthestandardconditionsthathavebeen adoptedbythiscourtaswellaswithany additional
 conditionson theattachedpage.
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DEFEN DAN T:               SAM UEL BAPTISTE
CASE N UM BER:             1:18-CR-20613-JEM(1)
                             STA NDARD CO NDITIO NS OF SUPERVISIO N
                                                              N

Aspartofyoursupervisedrelease,youmustcomply with thefollowing standardconditionsofsupervision.Theseconditionsare
imposedbecausethey establishthebasicexpectationsforyourbehaviorwhileon supervisionand identify theminimum toolsneeded
byprobation officerstokeep informed,reporttothecourtabout,andbringaboutimprovementsinyourconductand condition.

l.Youmustreporttotheprobationofficeinthefederaljudicialdistrictwhereyouareauthorizedtoresidewithin72hoursofyour
releasefrom imprisonment,unlesstheprobationoftkerinstructsyou toreporttoadifferentnrobation officeorwithinadifferenttim e
fram e.                                                                                *
2.Afterinitially reporting totheprobation office,youwillreceiveinstructionsfrom thecourtortheprobation officerabouthow and
when youmustreporttotheprobation officer,andyoumustreporttotheprobation officerasinstructed.
3.Youmustnotknowinglyleavethçfederaljudicialdistrictwhereyouareauthorizedtoresidewithoutflrstgettingpermissionfrom
thecourtortheprobation officer,
4.Youmustanswertruthfullythequestionsaskedbyyourprobationoz cer.
5.Youmustliveataplaceapprovedby theprobationofficer.Ifyouplanto changewhereyou liveoranything aboutyourliving
arrangements(suchasthepeopleyoulivewith),youmuk notifytheprobationofticeratleast10daysbeforethechange.Ifnotifying
theprobationofficerin advanceisnotpossibleduetounantiçipated circumstances,youmustnotify theprobation ofticerwithin 72
hoursoi-becomingawareofachangeorexpectedchinge.
6.Youmustallow theprobationoffiçerto visityou atànytimeatyourhomeorelsewhere,andyou mustperm ittheprobation officer
to takeany itçmsprohibited by thecopditionsofyoursupervisionthatheorsheobservesinplain view.
7.Youmustworkfulltime(at1+st30hoursperwqek)ataIawfultypeofemployment,unlesstheprobationofficerexcusesyoufrom
doing so.Ifyoudo nothavefull-timeemploymentyou musttry tot-
                                                          md full-tim eemployment,unlesstheprobation officerexcuses
youfm m doingso.lfyouplantochangewhereyouworkoran'         ythingaboutyourFork(suchasyourpositionöryourjob
responsibilities),youmustnotifythe'probationofficeratleast10daysbeforethechange.Ifnotifyingtheprobationofficeratleast10
daysin advanceisnotpossibleduetounanticipatedcircumstances,you mustnotify theprobation officerwithin 72hoursof
becom ing awareofachange orexpectedchange.
8.Youmustnotcommunicateorinter'  actwithsomeoneyouknow isengagedin criminalactivity.Ifyou know som eonehas'been
convictedofafe'lon#,youmustnotknowinglycommunicateorinteractwlththatpersonwithoutt-trstgettingthepennissionofthe
Probation'officer. .
                                                                            '


9,Ifyogareapestedorquestioned by alaw enforcementofficer,you mustnotifytheprobation officerwithin 72hours.
10.Y ou'm ustnotow n,possess,orhaveaccesstoa't-
                                              trearm , ammpniti
                                                              on,destruqtivedevice,ordangerousweapon(i.e.,anythingthat
wasdesigned,orwasmodifiedfor,thespecificpuposeofcausingbodilyinjuryordeathtoanotherpersonsuchasnunchakusor
tasers).
1l.YoumusynotactormakeapyagreementwithaIaw enforcemehtagencytoactasaconfideniialhumansourceorinformant
w ithoutflrstgettingtheperm ission ofthecourt.
12.Iftheprobationoftkerdeterminesthatyouposearisktoanotherperson(includinganorganization),theprobationofticermay
requireyou tonotifytheperson abouttheriskandyoumustcomplywith thatinstruction.Theprobation oftk ermay contactthe
person and contirm thatyouhavenotitiedthepersonabouttherisk.
13.Youmustfollow theinstructionsoftheprobation officerrelatedtotheconditionsofsupervision.

U .S.Probation O ffice Use O nly
A U.S.probation officerhasinstructedmeontheconditionsspecifiedby thecourtandhasprovidedmewith awrittencopy ofthis
judgmentcontainingtheseconditions.Iunderstandadditionalinformationregardingtheseconditionsisavailableat
wW w .flsp.uàcourts.zov.                                                                                  '

 D efepdant's Signature                                                               D ate
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DEFENDANT:            SAM UEL BAPTISTE
CA SE N UM BER:       1:18-CR-20613-.
                                    TEM(1)
                           SPEC G L C O O IT IO N S O F SU PE R V ISIO N
O ffense R çlated Com puter R estriction:The defendantshallrefrain from accessing via com puterany
''material''thatrelatestotheactivity inwhich thedefendantwasengagid in comm itting the InstantOffense,
nam ely        .

Perm ilsible Search:Thedefendantshallsubm itto asearch ofhis/herperson orproperty conducted in a
reasonablem annerand atareasonabletim eby theU .S.Probation Officer.

Unpaid Restitution,Fines,orSpecialAssessm ents:Ifthedefendanthasany unpaid Am ountofrestim tiop,
unes,orspecialassessments,thedefendantstlallnotifytheprobation officerofanymaterialchangeinthe
defendant'seconomiccircumstancesthatmightaffectihedefendant'sabilitytopay.
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DEFENDAN T:               SAM UEL BAPTISTE
CA SE NUM BER:            1:18-CR-20613-JEM(1)

                                     CRIM INAL M ONNTARY PENALTIES
     Thedefendantmust a thetotalcrhninalinoneta enaltiesunderthescheduleof a m ents a e.
                   Assessm ent          Restitution         Fine     AVA A A ssessm entfr JVTA Assessm ent**
 TOTALS               $.100,00                 $.00         $.00

 (7) Thedeterminationofrestitutionisdeferreduntil          AnAmendedludgmentinaCriminalCase(AO245C)willbeentered
       aftersuch determination.
 L Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowing'payeesintheamountlistedbefow.
         Ifthedefendantmakesapartialpayment,eachpayeeshallreceiveanajproximatelyproportionedpayment.However,pursuantto18U.S.C.
         j3664(1),allnonfederalvictimsmustbepaidbeforetheUni
                                                           tedStqteslspaid.


 EEI Restitmionamountorderedpursuanttopleaagreement$
 EEI Thedefendantmustpayinterçstonrestitutionandafineofmorethan$2,500,unlesstherestitutionorfineispaidinfullbefore
       thefZeenthdayafterthedateofthejudgmentpursuantto18U.S.C.j3612(9.Allofthepaymentoptionsontheschçduleof
       paymentspagemaybesubjecttopenaltiesfordelinquencyanddefault,pursuantto 18U.S'
                                                                                   .C.j3612(g).
 Z     Thecourtdetenninedthatthedefendantdoqsnothavetheabilitytopayinterestanditisorderedthat:
       EI theinterestrequirementiswaivedforthe EEI fine               '         EI restitution
       EEI theinterestrequirementforthe           (41 fme                       ED restitmionismodifiedasfollows:
Restimtion with lmprisonment-Itisfurtherorderedthatthedefendantshallpay restimtion in theamountof$.00.Duringtheperiod of
incarceration,paymentshallbemadeasfollows:(1)ifthedefendantearnjwagesinaFederalPrisonlndustriesIUNICORIjob,then
thedefçndantmustpay50% ofwagesearnedtowardthefinancialobligationsimposedbythisJudgmentinaCriminalCase;(2)ifthe
defendantdoesnotworkinalJNlCORjob,t'   henthedefendantmustpayaminimum of$25.00'perquartertowardthefinancial
obligationsimposed in thisorder.Upon Vleaseofincarceration,thedefendantshallpay restitutionastherateof10% ofm'onthly gross
earnings,untilsuchtimeasthçcoul'
                               tmayalterthatpgyfnentscheduleintheinterestsofjustice.TheU.S.BuyeauofPrisons,U.S.
ProbationOfticeandU.S.Attorney'sOfficeshallmonitorthepaymentofrestittitionandreporttothecourtanymaterialchangeinthe
defrndant'sabilitytopay.Thesepaymentsdo notprecludethegovernmentfrom usjngotherassetsorincomeofthedefendantto
satisfytherestitution obligations.

*Amy,Vicky,andAndyChildPornographyVictim AssistanceActof2018,18U.S.C.j2259.
#*JusticeforVictimsofTraffickingActof2015,18U.S.C.j3014.
### Findingsforthetotalamountoflossesare required underChapters109A,110,1IOA,and 113A ofTi
                                                                                         tle 18foroffensescommitted on oraAer
September13,1994,butbefore April23,1996.
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DEFEN DAN T:               SAM UEL BAPTISTE
CASE N UM BER:             l:18-CR-20613-JEM (1)
                                            SCH EDULE OF PAYM EN TS
Having assessedthedefendant'sability to pay,paymentofthetotalcriminalmonetary penaltiesisdueasfollows:

 A     1
       /    Lumpsum paymentsof$100.00dueimmediately,balancedue
ltisordered thattheDefendantshallpay to theUnited Statesaspecialassessm entof$100.00forCount6,which shallbedue
im m ediately. Said specialassessm entshallbepaid to theC lerk,U.S.DistrictCourt.Paym entisto beaddressèd to:

        U .S.CLERK 'S OFFICE
        ATTN:FINANCIAL SECTION
        400NO RTH M IAM IAV EN UE,RO OM 8N09
        M IA M I,FLO RIDA 33128-7716

Unlessthecourthasexpresslyorderedotherwise,ifthisjudgmentimposesimprisomnent,paymentofcrhninalmonetarypenaltlesis
dueduring imprisonm ent.Al1criminalmonetarypenalties,exceptthosepaymentsmadethroughtheFederalBureau ofPrisons'
Inm ateFinancialResponsibility Program ,arem adetotheclerk ofthecourt.

Thedefendantshallreceivecreditforallpaymentspreviously madetoward any criminalmondarypenaltiesimposed.
 L     JointandSeveral
       SeeaboveforDefendantand Co-DefendantNamesand CaseNumbers(inclttding #c.
                                                                             JJn#(
                                                                                 zn/number),TotalAmount,Jointand
       SeveralAmount,and correspondipgpayee,ifappropriate.

 EEIt Thedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:
       FORFEITURE ofthedefendànt'jright,titleand interestin certain property ishereby ordered consistentwith theplea
       agreem ent.TheUnited Statesshallsubm ita proposed.O rderofForfeiturewithin threedaysofthisproceeding.

Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)AVZNA assessment,(5)
tineprincipal,(6)tlneinterest,(7)communityrestimtion,(8)JVTA assessment,(9)penalties,and(10)costs,includingcostofprosecution
and courtcosts.                                                                   '       ..
